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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  ELAINE LEWIS,                                        CIVIL ACTION
                                          Plaintiff,
                                                       NO. 21-1438
  v.

  HARTFORD LIFE AND ACCIDENT
  INSURANCE COMPANY,
                         Defendant.

                                               ORDER

        AND NOW, upon review of the Third Circuit’s order filed on October 26, 2023 (23-2431,

ECF 20), this Court finds that Hartford Life & Accident Insurance Co. (“Hartford”) has abused its

discretion for the reasons previously stated, including failure to order an in-person examination of

Plaintiff, and remands this claim to Hartford. This Court suggests that Hartford retain Dr. Linehan

as one of the doctors to review Plaintiff’s medical records, and also suggests that Plaintiff receive

an in-person examination by a pain specialist. This Court further suggests that Hartford allow

Plaintiff to update her medical records to reflect her current condition and prognosis. Both parties

shall submit joint or separate status reports within 30 days.



DATED: 10/27/2023                               BY THE COURT:

                                                /s/ Michael M. Baylson

                                                MICHAEL M. BAYLSON, U.S.D.J.


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